                    Case 1-25-41368-jmm                    Doc 1        Filed 03/21/25            Entered 03/21/25 17:50:57
 Fill in this information to identify the case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Eastern District of New York (State)

                                                                      11
     Case number (If known): _________________________ Chapter ______
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Avon  Place LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               710 Avenue L                                             _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Brooklyn                    NY      11230
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Kings County
                                           ______________________________________________
                                           County
                                                                                                        44, 46, 47, 48 Avonwood Road
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        Avon                       CT      06001
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Avon Place LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         
                                         ✔ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            5311
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
       A debtor who is a “small business
       debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       under subchapter V of chapter 11
       (whether or not the debtor is a                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
       “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                          Chapter 12


9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                      Case 1-25-41368-jmm                 Doc 1        Filed 03/21/25            Entered 03/21/25 17:50:57


               Avon Place LLC
Debtor         _______________________________________________________                          Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have            No
   possession of any real                 
                                          ✔ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                             Fire Damage
                                                     Other _______________________________________________________________________________
                                                     ✔




                                                                           44 Avonwood Road
                                                    Where is the property?_____________________________________________________________________
                                                                                 Number       Street

                                                                                 ____________________________________________________________________
                                                                                 Avon
                                                                                 _______________________________________       CT
                                                                                                                              _______     06001
                                                                                                                                         ________________
                                                                                 City                                         State      ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                                            Avalon Risk Management
                                                              Contact name       ____________________________________________________________________

                                                              Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                              1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                             5,001-10,000                            50,001-100,000
   creditors
                                           100-199                           10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                        $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                  $10,000,001-$50 million
                                                                             ✔
                                                                                                                       $1,000,000,001-$10 billion
                                           $100,001-$500,000                 $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million               $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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             Avon Place LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million
                                                                                 ✔
                                                                                                                        $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            03/21/2025
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ David Goldwasser
                                             _____________________________________________               David Goldwasser
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    CRO
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Mark Frankel
                                             _____________________________________________              Date         03/21/2025
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Mark Frankel
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Backenroth Frankel & Krinsky, LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              488 Madison Avenue FL 23
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              NEW YORK
                                             ____________________________________________________             NY            10022-7658
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              212-593-1100
                                             ____________________________________                              mfrankel@bfklaw.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              3010238                                                         NY
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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      Fill in this information to identify the case:

                    Avon Place LLC
      Debtor name __________________________________________________________________

                                              Eastern District of New York
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                       Check if this is an
      Case number (If known):   _________________________                                                                                  amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,       Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of          (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact              debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
     New England Yankee Construction LLC                                 Suppliers or Vendors
1    34 High Street
     West Haven, CT, 06516
                                                                                                                                                    503,000.00


     Town of Avon                                                        Suppliers or Vendors
2    60 W Main Street
     Avon, CT, 06001
                                                                                                                                                    289,013.89


     CT Water                                                            Suppliers or Vendors
3    93 W Main Street
     Clinton, CT, 06413
                                                                                                                                                    90,579.25


     Benjamin Potok                                                      Services
4    747 Farmington Avenue
     New Britain, CT, 06053                                                                                                                         50,000.00


     Hamlin Contracting                                                  Suppliers or Vendors
5    275 Ridge Road
     Wethersfield, CT, 06109                                                                                                                        46,419.92


     Call the Bee                                                       Suppliers or Vendors
6    7 Eastview Drive
     Farmington, CT, 06032                                                                                                                          42,726.98


     Bouras Landscaping                                                  Suppliers or Vendors
7    255 Main Street
     Unionville, CT, 06085                                                                                                                          41,334.62


     Orange Cleaning                                                     Suppliers or Vendors
8    1175 State Street
     New Haven, CT, 06511                                                                                                                           34,197.56




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 1
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                   Avon Place LLC
    Debtor        _______________________________________________________                     Case number (if known)_____________________________________
                  Name




     Name of creditor and complete         Name, telephone number,       Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   and email address of          (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact              debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                         professional        unliquidated, total claim amount and deduction for value of
                                                                         services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                              partially         value of           claim
                                                                                                              secured           collateral or
                                                                                                                                setoff
     Otis Elevator                                                     Suppliers or Vendors
9    1 Carrier Place
     Farmington, CT, 06032                                                                                                                        19,497.24


     CNG                                                               Suppliers or Vendors
10 76 Meadow St
     East Hartford, CT, 06108                                                                                                                     10,652.00



     Eversource                                                        Suppliers or Vendors
11 107 Selden Street Berlin, CT 06037
     Berlin, CT, 06037                                                                                                                            8,525.63


     All Waste                                                         Suppliers or Vendors
12 143 Murphy Rd.
     Hartford, CT, 06114                                                                                                                          6,220.65



     Comcast                                                           Suppliers or Vendors
13 81 Albany Turnpike
     Canton, CT, 06019                                                                                                                            2,420.28


     Braman Pest Control                                               Suppliers or Vendors
14 111Phoenix Crossing
     Bloomfield, CT, 06002                                                                                                                        1,776.07



15




16




17




18




19




20




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 2
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                              ACTION BY WRITTEN CONSENT
                                  OF SOLE MEMBER OF
                                   AVON PLACE LLC

                                           March 18, 2025

         The undersigned constituting the authorized signatory of AVON PLACE LLC, a limited
liability company organized under the laws of the State of Connecticut (the “Company”), does
hereby consent, approve and adopt the following resolutions, with the same force and eﬀect as if
duly adopted at a meeting of the members of the Company:

        WHEREAS, the undersigned has determined that the commencement by the Company of
a bankruptcy proceeding under chapter 11 of title 11 of the United States Code by ﬁling a petition
in the United States Bankruptcy Court for the Eastern District of New York for the Company (the
“Bankruptcy Proceedings”) is in the best interest of the Company and its stakeholders.

NOW, THEREFORE, BE IT:

     RESOLVED, that the undersigned has determined that it is in the best interest of the
Company to commence the Bankruptcy Proceedings;

       RESOLVED FURTHER that David Goldwasser, Chief Restructuring Officer, be, and is,
authorized and directed to execute and file on behalf of the Company all petitions, schedules, lists,
and other papers or documents with the appropriate court under the Bankruptcy Code and to take
any and all action that they deem necessary, proper, or advisable to obtain such relief under the
Bankruptcy Code, including, without limitation, any action necessary to maintain the ordinary
course operation of the Company’s business;

        RESOLVED FURTHER that Backenroth Frankel & Krinsky, LLP be employed as
counsel to the Company to represent and assist the Company in carrying out the Company’s duties
under the Bankruptcy Code, and to take any and all actions to advance the Company’s rights,
including, the preparation of pleadings and filings in connection with the Bankruptcy Proceedings,
the Company is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Bankruptcy Proceedings, and
to cause to be filed an appropriate application for authority to retain services of Backenroth Frankel
& Krinsky, LLP;

        RESOLVED FURTHER, that is hereby authorized, empowered, and directed, in the name
and on behalf of the Company, to take such additional actions, to perform all acts and deed, and to
execute, ratify, certify, deliver, file, and record such additional agreements, notices, certificates,
instruments, applications, payments, letters and documents as any of them may deem necessary or
advisable to implement the provisions of the foregoing resolutions, and to appoint such agents on
behalf of the Company as David Goldwasser, Chief Restructuring Officer, may deem necessary or
advisable in connection with any financing arrangement or the sale of assets, and the transactions
contemplated by any of the foregoing, the authority for the taking of such action to be conclusive
evidence thereof;
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         RESOLVED FURTHER, that all of the acts and transactions taken by David Goldwasser,
Chief Restructuring Officer, in the name and on behalf of the Company, relating to matters
contemplated by the foregoing resolutions, which acts would have been approved by the foregoing
resolutions except that such acts were taken prior to the execution of these resolutions, are hereby
in all respects confirmed, approved and ratified; and

       RESOLVED FURTHER that this written consent may be executed in any number of
counterparts and by facsimile, portable document format, or other reproduction, and such
execution shall be considered valid, binding, and effective for all purposes.

                                              AVON PLACE LLC


                                              By:
                                                     David Goldwasser, CRO
                                                     Authorized Signatory




                                                 2
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44 Avonwood Road Credit LLC                   Ashish Sinha
c/o Ford & Paulekas, LLP                      48 Avonwood Rd.
280 Trumbull Street                           121
Hartford, CT 06103                            Avon, CT 06001


Abdullatif Althbyany                          Barbara Paine
48 Avonwood Rd.                               47 Avonwood Rd.
217                                           204
Avon, CT 06001                                Avon, CT 06001


Adam Arakelian                                Benjamin Potok
47 Avonwood Rd.                               747 Farmington Avenue
306                                           New Britain, CT 06053
Avon, CT 06001

                                              Bernie Hernandez, Shirley Hernandez, Rachel H
Ahron Rudich                                  48 Avonwood Rd.
710 Avenue L                                  320
Brooklyn, NY                                  Avon, CT 06001


Ahron Rudich                                  Bouras Landscaping
710 Avenue L                                  255 Main Street
Brooklyn                                      Unionville, CT 06085
NY 11230

                                              Braman Pest Control
Alexander Nguyen                              111Phoenix Crossing
47 Avonwood Rd.                               Bloomfield, CT 06002
109
Avon, CT 06001
                                              Breanna Macomber, Colin Dwyer
                                              48 Avonwood Rd.
All Waste                                     113
143 Murphy Rd.                                Avon, CT 06001
Hartford, CT 06114

                                              Call the Bee
Altbanq Lending LLC                           7 Eastview Drive
477 Madison Avenue                            Farmington, CT 06032
24th Floor
New York, NY 10022
                                              Carmen Baig
                                              47 Avonwood Rd.
Amanda Nowak                                  203
48 Avonwood Rd.                               Avon, CT 06001
310
Avon, CT 06001
                                              Cassondra Tinley
                                              48 Avonwood Rd.
Amy Arlin                                     212
47 Avonwood Rd.                               Avon, CT 06001
314
Avon, CT 06001
                                              Chelsea Walsh, Brian Miller
                                              48 Avonwood Rd.
Asha Ismail                                   207
47 Avonwood Rd.                               Avon, CT 06001
202
Avon, CT 06001
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City of New York                                   Elijah Rosenthal
c/o New York City Law Dept                         48 Avonwood Rd.
100 Church St                                      306
New York, NY 10007                                 Avon, CT 06001


CNG                                                Elizabeth Soker
76 Meadow St                                       47 Avonwood Rd.
East Hartford, CT 06108                            211
                                                   Avon, CT 06001

Cole Haymond
47 Avonwood Rd.                                    Elliot Pollock
212                                                48 Avonwood Rd.
Avon, CT 06001                                     216
                                                   Avon, CT 06001

Comcast
81 Albany Turnpike                                 Eversource
Canton, CT 06019                                   107 Selden Street Berlin, CT 06037
                                                   Berlin, CT 06037

CT Water
93 W Main Street                                   Fabializ Najera, Maria Rivera
Clinton, CT 06413                                  48 Avonwood Rd.
                                                   112
                                                   Avon, CT 06001
Davien Barnes, Alyssa Berthiaume
48 Avonwood Rd.
311                                                Felipe Rodriguez, Ronnie Palma
Avon, CT 06001                                     47 Avonwood Rd.
                                                   210
                                                   Avon, CT 06001
Devon Root
47 Avonwood Rd.
104                                                Frank Moynihan, Sharon Moynihan
Avon, CT 06001                                     47 Avonwood Rd.
                                                   110
                                                   Avon, CT 06001
Devon Winn
47 Avonwood Rd.
217                                                Gayane Genov, Gregoriy Genov
Avon, CT 06001                                     48 Avonwood Rd.
                                                   218
                                                   Avon, CT 06001
Donna McCormick
48 Avonwood Rd.
211                                                Hamlin Contracting
Avon, CT 06001                                     275 Ridge Road
                                                   Wethersfield, CT 06109

Dorcas Mensah
47 Avonwood Rd.                                    Idrissa Thioune
303                                                47 Avonwood Rd.
Avon, CT 06001                                     112
                                                   Avon, CT 06001

Douglas Brown
47 Avonwood Rd.                                    Internal Revenue Service
315                                                POB 7346
Avon, CT 06001                                     Philadelphia, PA 19101
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Jaagruti Mishra                              Karissa Kudile, Jeffrey Kudile
48 Avonwood Rd.                              47 Avonwood Rd.
317                                          115
Avon, CT 06001                               Avon, CT 06001


Jeffrey Sherman                              Karthik Jayaraman
48 Avonwood Rd.                              47 Avonwood Rd.
314                                          209
Avon, CT 06001                               Avon, CT 06001


Jennifer Gomez                               Kathleen Romano, Nicholas Ramano
48 Avonwood Rd.                              47 Avonwood Rd.
116                                          207
Avon, CT 06001                               Avon, CT 06001


Joanne Madsen                                Kenneth Heyne
48 Avonwood Rd.                              48 Avonwood Rd.
118                                          104
Avon, CT 06001                               Avon, CT 06001


John Parent, Nicole Parent                   Kevin Wickstrom, Grace Wickstrom
48 Avonwood Rd.                              48 Avonwood Rd.
117                                          119
Avon, CT 06001                               Avon, CT 06001


John Pendleton                               Kirby Huget
48 Avonwood Rd.                              48 Avonwood Rd.
208                                          205
Avon, CT 06001                               Avon, CT 06001


Jordan Gomes                                 Konstantia Papapateras
48 Avonwood Rd.                              48 Avonwood Rd.
111                                          305
Avon, CT 06001                               Avon, CT 06001


Joshua McLamb                                Kwame Appiah, Love Amoah
48 Avonwood Rd.                              47 Avonwood Rd.
108                                          309
Avon, CT 06001                               Avon, CT 06001


Joshua Popielarczyk                          Kyle Pisko
47 Avonwood Rd.                              47 Avonwood Rd.
111                                          218
Avon, CT 06001                               Avon, CT 06001


Karen Cosgrove                               Laura Fern
46 Avonwood Rd.                              47 Avonwood Rd.
46-A                                         114
Avon, CT 06001                               Avon, CT 06001
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Linda March                                              New England Yankee Construction LLC
47 Avonwood Rd.                                          34 High Street
305                                                      West Haven, CT 06516
Avon, CT 06001

                                                         New Haven Villages LLC
Lindsey Smith, Skylar Fox, Lilli Jones                   710 Avenue L
47 Avonwood Rd.                                          Brooklyn, NY 11230
216
Avon, CT 06001
                                                         New York State Dept Finance
                                                         Bankruptcy Unit
Lora Anderson, Andrei Atsian                             POB 5300
47 Avonwood Rd.                                          Albany, NY 12205
313
Avon, CT 06001
                                                         Noelle Hill
                                                         47 Avonwood Rd.
Manickavel Ramar                                         301
48 Avonwood Rd.                                          Avon, CT 06001
206
Avon, CT 06001
                                                         NYC Dept Bldgs
                                                         280 Broadway
Mary Ellen Jenson                                        New York, NY 10007
48 Avonwood Rd.
106
Avon, CT 06001                                           NYC Dept Env. Prot.
                                                         59-17 Junction Blvd Fl 13
                                                         Elmhurst, NY 11373
Max Rook
48 Avonwood Rd.
307                                                      NYC Dept. Finance
Avon, CT 06001                                           375 Pearl Street 30th Fl
                                                         Attn: Legal Affairs
                                                         Brooklyn, NY 11201
Meaghan Engel, Christopher Cassis
48 Avonwood Rd.
319                                                      NYC Housing Pres. Dev.
Avon, CT 06001                                           100 Gold St
                                                         New York, NY 10038

Mercy Nyaata
47 Avonwood Rd.                                          NYC Water Board
103                                                      POB 11863
Avon, CT 06001                                           Newark, NJ 07101


Michael Sullivan                                         NYS Attorney General
47 Avonwood Rd.                                          28 Liberty St.
117                                                      New York, NY 10005
Avon, CT 06001

                                                         Office of United States Trustee
Muthukrishnan, Krishnasamy Sundararajan                  One Bowling Green
48 Avonwood Rd.                                          New York, NY 10007
109
Avon, CT 06001
                                                         Orange Cleaning
                                                         1175 State Street
                                                         New Haven, CT 06511
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Otis Elevator                                Sandy Knight
1 Carrier Place                              47 Avonwood Rd.
Farmington, CT 06032                         108
                                             Avon, CT 06001

Quincy Biggs
47 Avonwood Rd.                              Sara Thanh, Chanthan Thanh
220                                          47 Avonwood Rd.
Avon, CT 06001                               118
                                             Avon, CT 06001

Rachel Kennedy
47 Avonwood Rd.                              Seenivasan Somasundaram
318                                          48 Avonwood Rd.
Avon, CT 06001                               221
                                             Avon, CT 06001

Ravinder Rishi
47 Avonwood Rd.                              Senthil Chidambaram
116                                          47 Avonwood Rd.
Avon, CT 06001                               206
                                             Avon, CT 06001

Rebecca Bowling
48 Avonwood Rd.                              Sheldon Schwartz
110                                          48 Avonwood Rd.
Avon, CT 06001                               312
                                             Avon, CT 06001

Rick Thomas
47 Avonwood Rd.                              Siji John
312                                          47 Avonwood Rd.
Avon, CT 06001                               214
                                             Avon, CT 06001

Robin Lindsey
48 Avonwood Rd.                              Sriram Suresh
203                                          47 Avonwood Rd.
Avon, CT 06001                               208
                                             Avon, CT 06001

Rohit Kumar
48 Avonwood Rd.                              Suresh Kumar
103                                          48 Avonwood Rd.
Avon, CT 06001                               302
                                             Avon, CT 06001

Rohitkumar Babulal Patel
48 Avonwood Rd.                              Tammy Samperi
204                                          46 Avonwood Rd.
Avon, CT 06001                               B
                                             Avon, CT 06001

Sahirah Muhammad
48 Avonwood Rd.                              Tania Pimentel
308                                          48 Avonwood Rd.
Avon, CT 06001                               316
                                             Avon, CT 06001
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Tara Dean, Christopher Porylo
47 Avonwood Rd.
310
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Tom Preston
47 Avonwood Rd.
107
Avon, CT 06001


Town of Avon
60 W Main Street
Avon, CT 06001


Travis Schoen
47 Avonwood Rd.
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United States Attorney
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United States SEC
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Venkata Miriyala, Diyana Miriyala
47 Avonwood Rd.
319
Avon, CT 06001


Vijay Krishna
47 Avonwood Rd.
120
Avon, CT 06001


Waseem Islam
48 Avonwood Rd.
313
Avon, CT 06001


Weiling Li
48 Avonwood Rd.
202
Avon, CT 06001
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                               United States Bankruptcy Court
                               Eastern District of New York




         Avon Place LLC
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               03/21/2025                        /s/ David Goldwasser
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  CRO
                                                 Position or relationship to debtor
